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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        ASUS COMPUTER INTERNATIONAL,
                                   7                                                       Case No. 12-cv-02099-JST
                                                          Plaintiff,
                                   8                                                       MINUTE ORDER NOTING DISMISSAL
                                                v.
                                   9                                                       Re: ECF No. 409
                                        ROUND ROCK RESEARCH, LLC,
                                  10
                                                          Defendant.
                                  11

                                  12          The parties have filed a stipulation of dismissal dated May 30, 2014, stating that they have
Northern District of California
 United States District Court




                                  13   agreed to a settlement of this action. ECF No. 409. Since the stipulation is signed by all parties

                                  14   who have appeared, it is effective without court order pursuant to Federal Rule of Civil Procedure

                                  15   41(a)(1)(A)(ii).

                                  16          ASUS’s claims have been dismissed without prejudice. Round Rock’s counterclaims are

                                  17   dismissed with prejudice. The Clerk shall close the file.

                                  18          IT IS SO ORDERED.

                                  19   Dated: June 23, 2014
                                                                                       ______________________________________
                                  20
                                                                                                     JON S. TIGAR
                                  21                                                           United States District Judge

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